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               EXHIBIT D
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Burnham & Gorokhov, PLLC Mail - In re Clark                                                                                 10/15/22, 4:40 PM




                                                                                       Charles Burnham <charles@evgpllc.com>



 In re Clark
 Phil Fox <FoxP@dcodc.org>                                                            Thu, Oct 6, 2022 at 5:06 PM
 To: Charles Burnham <charles@burnhamgorokhov.com>, Jason Horrell <horrellj@dcodc.org>, HarryMacD
 <HarryMacD@protonmail.com>, Robert Destro <Robert.Destro@protonmail.com>


    I generally don’t make that determination until after the hearing—the chair doesn’t like
    that because they want to discuss it during their immediate deliberations, but I like to
    factor in the conduct at the hearing. The law in D.C. lists five or so factors that are to be
    taken into consideration, but also says that you look to comparable conduct. I don’t
    think there is any comparable conduct, which means this is something that I will need to
    dwell on. But I do think his conduct at the hearing will be relevant. For example,
    respondents who give false testimony generally get an enhanced sanction.



    From: Charles Burnham <charles@burnhamgorokhov.com>
    Sent: Thursday, October 6, 2022 3:31 PM
    To: Phil Fox <FoxP@dcodc.org>; Jason Horrell <horrellj@dcodc.org>; HarryMacD <HarryMacD@protonmail.com>;
    Robert Destro <Robert.Destro@protonmail.com>
    Subject: [EXT]In re Clark



    Mr. Fox,



    Have you decided what type of sanction you'll be seeking for Mr. Clark if the Board finds in your favor? Would be
    happy to discuss by phone if you prefer. Thank you.



    --

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